O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the
                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No: 5:04CR00018-011
                    JERRY GERARD PARSON
                                                                           )   USM No: 19723-058
Date of Previous Judgment: January 12, 2006                                )   Samuel B. Winthrop
(Use Date of Last Amended Judgment if Applicable)                          )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of             months is reduced to                           .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33                Amended Offense Level:                                            31
Criminal History Category: IV                Criminal History Category:                                        IV
Previous Guideline Range:  188 to 235 months Amended Guideline Range:                                          151       to 188   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): Reduction of a defendant’s sentence pursuant to 18 U.S.C. § 3582(c)(2) is discretionary. Due to
                     Defendant’s long-term involvement in a large drug conspiracy, his continued disciplinary violations
                     while in prison, and the fact that Defendant has already received a substantial departure from the
                     sentencing guidelines, and considering the factors set forth in 18 U.S.C. § 3553(a), Defendant’s
                     motion is denied.
III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release from
incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local Residential
Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.

Except as provided above, all provisions of the judgment dated                     January 12, 2006   shall remain in effect.
IT IS SO ORDERED.

Order Date:          March 3, 2009


Effective Date:
                       (if different from order date)


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